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 6   [Submitting Counsel on Signature Page]

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 8                                 UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11

12   IN RE JUUL LABS, INC.,                            Case No. 19-md-02913-WHO
     MARKETING, SALES PRACTICES,
13   AND PRODUCTS LIABILITY                            TRIAL TESTIMONY AND EXHIBITS
     LITIGATION                                        FROM THE VIDEOTAPED TESTIMONY
14                                                     OF CHRISOPTHER OLIN PLAYED AT
                                                       TRIAL
15
     This Document Relates to:
16
   San Francisco Unified School District v.
17 Juul Labs, Inc. et al., Case No. 3:19-cv-
   08177
18

19
             Plaintiff, by and through its undersigned attorneys, hereby dockets the following:
20
                  1. Exhibit 1 is a report of the videotaped testimony of Christopher Olin that was
21
                       played to the jury on May 1, 2023. The testimony in blue 00:23:01 and light blue
22
                       00:00:00 is Plaintiff’s affirmative and counter-counter designations.
23
                  2. Exhibit 2: is a Joint Stipulation Identifying Trial Exhibits Used In Videotaped
24
                       Depositions of Christopher Olin Played at Trial that sets forth all of the Trial
25
                       Exhibits from the videotaped testimony of Christopher Olin admitted into evidence
26
                       by the Court.
27

28


      Case No. 3:19-cv-08177                                  TRIAL TESTIMONY AND EXHIBITS FROM THE
                                                                           VIDEOTAPED TESTIMONY OF
                                                                   CHRISTOPHER OLIN PLAYED AT TRIAL
     Case 3:19-md-02913-WHO Document 3991 Filed 05/01/23 Page 2 of 27



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                    EXHIBIT 1
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Olin, Christopher SFUSD
FINAL_PLAYED 05-01-23
Designation List Report




            Olin, Christopher                       2021-07-29



            PLF AFFIRMATIVE                            00:23:01
            TOTAL RUN TIME                            00:23:01



            Documents linked to video:
            OLIN18502
            OLIN18503
            OLIN18506
            OLIN18509
            OLIN18512
            OLIN18519
            OLIN18522
            OLINPM14030
            OLINPM14042
            OLINPM14203




                                                                        ID: OCv12
            Case 3:19-md-02913-WHO Document 3991 Filed 05/01/23 Page 5 of 27
                         OCv12 - Olin, Christopher SFUSD FINAL_PLAYED 05-01-23
DESIGNATION      SOURCE                                                         DURATION      ID

 14:02 - 14:04   Olin, Christopher 2021-07-29_WIT                                00:00:04   OCv12.1
                 14:02      BY MR. WATTS:
                 14:03   Q. What is your name?
                 14:04   A. Christopher Olin.
 14:05 - 14:07   Olin, Christopher 2021-07-29_WIT                                00:00:05   OCv12.2
                 14:05   Q. Mr. Olin, my name is Mikal Watts. I'm
                 14:06      the lawyer for the plaintiﬀs who will be taking
                 14:07      your deposition here today.
 16:10 - 16:15   Olin, Christopher 2021-07-29_WIT                                00:00:17   OCv12.3
                 16:10   Q. And if you could, tell the ladies and
                 16:11      gentlemen of the jury where you went to school and
                 16:12      what your professional background is.
                 16:13   A. I went to Stanford University, and
                 16:14      worked in so ware for the main part of my career,
                 16:15      and then finance a er that.
 16:19 - 17:04   Olin, Christopher 2021-07-29_WIT                                00:00:30   OCv12.4
                 16:19      What investment management oﬀice have
                 16:20      you been a principal in?
                 16:21   A. That's Tao Capital Partners.
                 16:22   Q. Okay. And if you could, describe what
                 16:23      Tao Capital Partners is.
                 16:24   A. It's a family business oﬀice for a
                 16:25      number of family members.
                 17:01   Q. Okay. And when you say "for a number of
                 17:02      family members," that would be members of the
                 17:03      Nicholas Pritzker family; is that right?
                 17:04   A. Yes.
 17:15 - 17:24   Olin, Christopher 2021-07-29_WIT                                00:00:28   OCv12.5
                 17:15      And do you work full time or did you
                 17:16      work full time at the Tao Capital Partners?
                 17:17   A. I worked full time there from -- yes,
                 17:18      for a period of time. I'm not full time there
                 17:19      now.
                 17:20   Q. Yeah. What was the time frame where
                 17:21      you were working full time at Tao Capital
                 17:22      Partners?
                 17:23   A. Sometime in 2013 when the oﬀice was
                 17:24      opened until the end of 2017.
 19:07 - 19:16   Olin, Christopher 2021-07-29_WIT                                00:00:24   OCv12.6
                                                PLF AFFIRMATIVE                                       2 / 20
            Case 3:19-md-02913-WHO Document 3991 Filed 05/01/23 Page 6 of 27
                         OCv12 - Olin, Christopher SFUSD FINAL_PLAYED 05-01-23
DESIGNATION      SOURCE                                                           DURATION       ID
                 19:07   Q. And as to whether or not the                                      OCv12.6
                 19:08       Pritzker, you know, family or any member of the
                 19:09       family had already made investments in Ploom, you
                 19:10       just don't recall.
                 19:11       Is that fair?
                 19:12   A. Yeah -- well, the investments just
                 19:13       structurally are made through family entities
                 19:14       and -- and family trusts. Yes, I think there was
                 19:15       an investment before the creation of the oﬀice in
                 19:16       San Francisco, Tao.
 20:18 - 20:22   Olin, Christopher 2021-07-29_WIT                                  00:00:12   OCv12.7
                 20:18   Q. I'll just represent to you,
                 20:19       Mr. Nicholas Pritzker told me that he made his
                 20:20       first investment in 2011, and that would comport
                 20:21       with your recollection; is that right?
                 20:22   A. Yeah, that sounds about right.
 21:10 - 21:15   Olin, Christopher 2021-07-29_WIT                                  00:00:09   OCv12.8
                 21:10       I'm going to ask you about a
                 21:11       series of documents that you either wrote or
                 21:12       received, and -- and I'll just take it
                 21:13       chronologically and see if you can -- you and I
                 21:14       can go through this.
                 21:15       Exhibit 8 -- I mean 18502.
 21:16 - 21:18   Olin, Christopher 2021-07-29_WIT                                  00:00:02   OCv12.9
  OLIN18502.1.   21:16       18502. There we go.
      1
                 21:17       (Olin Exhibit No. 18502 was marked
                 21:18       for identification.)
 21:19 - 22:11   Olin, Christopher 2021-07-29_WIT                                  00:00:38   OCv12.10
                 21:19       BY MR. WATTS:
                 21:20   Q. You are married to Regan Pritzker; is
                 21:21       that right?
                 21:22   A. Yes.
  OLIN18502.1.   21:23   Q. And she writes you an e-mail on January
      2
                 21:24       the 11th saying: "Maybe you saw this already,"
                 21:25       and it's a Science News article about health risks
                 22:01       of e-cigarettes emerging.
                 22:02       Do you see that?

                                                    PLF AFFIRMATIVE                                      3 / 20
              Case 3:19-md-02913-WHO Document 3991 Filed 05/01/23 Page 7 of 27
                          OCv12 - Olin, Christopher SFUSD FINAL_PLAYED 05-01-23
DESIGNATION       SOURCE                                                          DURATION       ID
                  22:03   A. Yes.
  OLIN18502.1.    22:04   Q. And you respond: "Scary." And then
      3
                  22:05      you forward it to Nicholas Pritzker; is that
                  22:06      right?
                  22:07   A. I don't recall this exchange, but I -- I
                  22:08      see the e-mail here.
  OLIN18502.1.    22:09   Q. And then Nicholas Pritzker -- that's
      4
                  22:10      your father-in-law, right?
                  22:11   A. Yes.
 24:02 - 24:09    Olin, Christopher 2021-07-29_WIT                                 00:00:20   OCv12.11
  OLIN18502.1.    24:02   Q. Mr. Olin, at the time that you
      5
                  24:03      received this e-mail from Nicholas Pritzker saying
                  24:04      that there's no doubt in his mind that there would
                  24:05      be valid health concerns around the product and
                  24:06      potentially strict liability, you were at Tao
                  24:07      Capital Partners as a principal in the family
                  24:08      oﬀice that had an investment in the company that
                  24:09      made JUUL, right?
 24:11 - 24:22    Olin, Christopher 2021-07-29_WIT                                 00:00:32   OCv12.12
                  24:11      THE WITNESS: Yes.
                  24:12      BY MR. WATTS:
                  24:13   Q. Now, at the same time, were you serving
                  24:14      as the chairman of the Center for Environmental
                  24:15      Health?
                  24:16   A. Yes, I believe so, in 2015.
      Clear       24:17   Q. Yes, sir. Now, Mr. Olin, if you could
                  24:18      in your own words, tell the jury what the Center
                  24:19      for Environmental Health does.
                  24:20   A. It's a nonprofit organization in Oakland
                  24:21      that focuses on keeping the environment and
                  24:22      consumer products healthy.
 24:23 - 24:25    Olin, Christopher 2021-07-29_WIT                                 00:00:07   OCv12.13
                  24:23   Q. Okay. And I want to take you to an
  OLIN18503.1.    24:24      e-mail that you wrote in May of 2015,
      1
  OLIN18503.1.
      2
                                                   PLF AFFIRMATIVE                                       4 / 20
            Case 3:19-md-02913-WHO Document 3991 Filed 05/01/23 Page 8 of 27
                         OCv12 - Olin, Christopher SFUSD FINAL_PLAYED 05-01-23
DESIGNATION      SOURCE                                                         DURATION       ID
                 24:25      Exhibit 18503.
 26:02 - 26:08   Olin, Christopher 2021-07-29_WIT                                00:00:13   OCv12.14
                 26:02   Q. And part of what you told
  OLIN18503.1.   26:03      Mr. Nicholas Pritzker is: "Last night I attended
      3
                 26:04      the annual gala for the Center for Environmental
                 26:05      Health, the nonprofit of which I am the board
                 26:06      chair."
                 26:07      Do you see that?
                 26:08   A. Yes.
 28:22 - 28:25   Olin, Christopher 2021-07-29_WIT                                00:00:07   OCv12.15
  OLIN18503.1.   28:22   Q. Okay. And you were communicating that
      4
                 28:23      to your father-in-law who sat on the board of
                 28:24      directors of the company that made the JUUL
                 28:25      product, right?
 29:02 - 29:07   Olin, Christopher 2021-07-29_WIT                                00:00:15   OCv12.16
                 29:02      THE WITNESS: I -- I actually don't know
                 29:03      whether he was on the board at that time. This
                 29:04      was kind of a heads-up to him and other folks on
                 29:05      the investment committee that this whole sector
                 29:06      was going to be -- going to be getting some
                 29:07      attention.
 30:07 - 30:10   Olin, Christopher 2021-07-29_WIT                                00:00:17   OCv12.17
                 30:07      At the time that you wrote this, you
                 30:08      were aware that Pax, the company in which the
                 30:09      Pritzker family entities held shares, was
                 30:10      manufacturing a nicotine delivery product. Right?
 30:13 - 30:25   Olin, Christopher 2021-07-29_WIT                                00:00:29   OCv12.18
                 30:13      THE WITNESS: I don't know that at this
                 30:14      time when I sent this e-mail they were already
                 30:15      manufacturing something. This e-mail was a
                 30:16      heads-up about the sector more generally. At some
                 30:17      point I did learn that the company in which the
                 30:18      original investment had been made had developed a
                 30:19      second product, which was not the original focus
                 30:20      of the investment, that contained nicotine.
                 30:21      BY MR. WATTS:
                 30:22   Q. Okay. And that second product was the
                                                PLF AFFIRMATIVE                                        5 / 20
            Case 3:19-md-02913-WHO Document 3991 Filed 05/01/23 Page 9 of 27
                         OCv12 - Olin, Christopher SFUSD FINAL_PLAYED 05-01-23
DESIGNATION      SOURCE                                                          DURATION       ID
                 30:23      JUUL; is that right?
                 30:24   A. That's ultimately what, yes, became
                 30:25      JUUL.
 31:07 - 31:12   Olin, Christopher 2021-07-29_WIT                                 00:00:16   OCv12.19
  OLIN18503.1.   31:07      Why did you have a discomfort with
      5
                 31:08      respect to the Pritzker family being involved in a
                 31:09      nicotine delivery product?
                 31:10   A. I wasn't interested in -- in any company
                 31:11      that was a consumer company selling a product that
                 31:12      contained chemicals that people would ingest.
 31:13 - 31:17   Olin, Christopher 2021-07-29_WIT                                 00:00:13   OCv12.20
                 31:13   Q. Okay. And -- and why is that?
                 31:14   A. Based on my focus, my work at CEH, I
                 31:15      just -- I think that chemicals are -- are
                 31:16      generally harmful to human health. We should
                 31:17      avoid them at -- at all costs as much as possible.
 31:18 - 31:21   Olin, Christopher 2021-07-29_WIT                                 00:00:14   OCv12.21
                 31:18   Q. And nicotine being one of those, right?
                 31:19   A. Nicotine; the other fluids in the -- in
                 31:20      all of the vaping devices. Any -- any --
                 31:21      certainly anything on the Prop 65 list.
 31:22 - 32:03   Olin, Christopher 2021-07-29_WIT                                 00:00:24   OCv12.22
  OLIN18503.1.   31:22   Q. Okay. Now, you say: "I encourage you
      6
                 31:23      to raise these issues with the management of Pax
                 31:24      so the consumers of the product have full
                 31:25      visibility into the risks of using it."
                 32:01      When you said that, are you referring to
                 32:02      the Prop 65 warning label issue?
                 32:03   A. Let me take a look. (Peruses document.)
 32:04 - 32:06   Olin, Christopher 2021-07-29_WIT                                 00:00:07   OCv12.23
                 32:04      I can't -- I'm not sure exactly what I
                 32:05      was referring to, but I know that I -- I was a big
                 32:06      advocate for labeling.
 32:07 - 32:12   Olin, Christopher 2021-07-29_WIT                                 00:00:14   OCv12.24
  OLIN18503.1.   32:07   Q. And you write: "It would also be
      7
                 32:08      prudent for the company to have a plan for or
                                                   PLF AFFIRMATIVE                                      6 / 20
            Case 3:19-md-02913-WHO Document 3991 Filed 05/01/23 Page 10 of 27
                         OCv12 - Olin, Christopher SFUSD FINAL_PLAYED 05-01-23
DESIGNATION      SOURCE                                                          DURATION       ID
                 32:09      ideally support proactive labeling or regulations
                 32:10      that minimize the public health risks from the use
                 32:11      of the nicotine products." Is that right?
                 32:12   A. Yes.
 39:19 - 39:23   Olin, Christopher 2021-07-29_WIT                                 00:00:24   OCv12.25
  OLINPM14030    39:19      Now, the next part of this string is
     .1.1
  OLINPM14030    39:20      14030. If we could go to page 2, I'll show you
     .2.1
                 39:21      the -- down at the bottom, that's your attended
                 39:22      the board gala e-mail, right?
                 39:23   A. Yes.
 41:09 - 41:24   Olin, Christopher 2021-07-29_WIT                                 00:00:41   OCv12.26
  OLINPM14030    41:09   Q. Okay. You wrote the e-mail on May 29th
     .2.2
                 41:10      to your father-in-law, to your two brothers-in-
                 41:11      law, your wife, the president of Tao Capital
                 41:12      Partners, and a member of the investment team,
                 41:13      Matt Bigliardi, right?
                 41:14   A. Yeah, that was -- at that time that was
                 41:15      the -- I believe that was the investment committee
                 41:16      for the private investments.
                 41:17   Q. Great.
                 41:18      And then in this particular exhibit,
  OLINPM14030    41:19      Mr. Nicholas Pritzker responds just above this,
     .2.3
                 41:20      and he's forwarding it to an Alexander Asseily:
  OLINPM14030    41:21      "The attached e-mail is from my son-in-law Chris
     .2.4
                 41:22      Olin. It's ironic that he is the chairman of
                 41:23      CEH."
                 41:24      Do you see that?
 42:01 - 42:01   Olin, Christopher 2021-07-29_WIT                                 00:00:00   OCv12.27
                 42:01      THE WITNESS: Yes.
 42:17 - 42:20   Olin, Christopher 2021-07-29_WIT                                 00:00:09   OCv12.28
                 42:17   Q. So he says it's ironic that you're the
                 42:18      chairman of CEH. The irony was that CEH was
                 42:19      taking action at the same time against the vaping
                 42:20      industry; is that right?

                                                 PLF AFFIRMATIVE                                        7 / 20
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                           OCv12 - Olin, Christopher SFUSD FINAL_PLAYED 05-01-23
DESIGNATION        SOURCE                                                         DURATION       ID
 42:23 - 42:24     Olin, Christopher 2021-07-29_WIT                                00:00:03   OCv12.29
                   42:23      THE WITNESS: I don't know why he wrote
                   42:24      that.
 43:18 - 44:01     Olin, Christopher 2021-07-29_WIT                                00:00:27   OCv12.30
  OLINPM14030      43:18   Q. Let's go to the first page
     .1.2
                   43:19      further up the e-mail string. You write an e-mail
  OLINPM14030      43:20      in the middle, and it says, on June the 1st:
     .1.4
                   43:21      "What age -- what age do think this marketing
                   43:22      targets?"
                   43:23      And you attach a JUUL vapor Instagram
                   43:24      link; is that right?
                   43:25   A. Yeah, I don't remember this exchange,
                   44:01      but I see it here now.
 46:14 - 46:19     Olin, Christopher 2021-07-29_WIT                                00:00:17   OCv12.31
  OLINPM14030      46:14   Q. Let's go up the page. Nicholas
     .1.5
  OLINPM14030      46:15      Pritzker responds at the top: "I agree with you.
     .1.6
                   46:16      I have already objected to the marketing imagery
                   46:17      and will follow up on that too."
                   46:18      Do you see that, sir?
                   46:19   A. Yes.
 47:01 - 47:08     Olin, Christopher 2021-07-29_WIT                                00:00:20   OCv12.32
                   47:01   Q. You were aware that Nicholas
                   47:02      Pritzker was on the board of directors of the
                   47:03      company that was launching JUUL on June the 1st of
                   47:04      2015, right?
                   47:05   A. I became aware at some point that Nick
                   47:06      was on the board. I'm not sure -- I knew he was
                   47:07      involved with the company somehow, but I'm not
                   47:08      sure I knew he was on the board then.
 48:04 - 48:06     Olin, Christopher 2021-07-29_WIT                                00:00:07   OCv12.33
                   48:04      BY MR. WATTS:
      Clear        48:05   Q. Now, I want to take you to about eight
  OLIN18506.1.     48:06      days later on June the 9th, Exhibit 18506.
      1
 49:02 - 49:14     Olin, Christopher 2021-07-29_WIT                                00:00:35   OCv12.34
                                                     PLF AFFIRMATIVE                                     8 / 20
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                         OCv12 - Olin, Christopher SFUSD FINAL_PLAYED 05-01-23
DESIGNATION      SOURCE                                                          DURATION       ID
  OLIN18506.1.   49:02   Q. It says: "Debates like these," and                               OCv12.34
      2
                 49:03      he's referencing a BBC link, "which are heating up
                 49:04      globally illustrate the uneasiness of the case for
                 49:05      e-cigarettes and make the Juul image marketing
                 49:06      program especially objectionable."
                 49:07      Do you see that, sir?
                 49:08   A. Yes.
  OLIN18506.1.   49:09   Q. He says: "I want you to know that I
      3
                 49:10      share yours and Maya's concerns."
                 49:11      Did you all have a conversation between
                 49:12      June the 1st and June the 9th about your concerns
                 49:13      about what you had seen with respect to Juul's
                 49:14      marketing imagery on Instagram?
 49:17 - 50:10   Olin, Christopher 2021-07-29_WIT                                 00:00:53   OCv12.35
                 49:17      THE WITNESS: I don't recall any
                 49:18      conversation about the marketing. My primary
                 49:19      focus was on the chemicals in the products and
                 49:20      the -- and the industry as a whole.
                 49:21      BY MR. WATTS:
  OLIN18506.1.   49:22   Q. Now, above this you respond back on June
      4
                 49:23      the 10th, and you tell Mr. Pritzker, Nicholas
  OLIN18506.1.   49:24      Pritzker, that you had a young man over for lunch,
      5
                 49:25      and talking about the deals you've done, and he
                 50:01      says: "'But what's up with that e-cigarette
                 50:02      company?' For many I predict Pax is a stark
                 50:03      contrast to the solutions-focused businesses in
                 50:04      which we've invested. I didn't have any
                 50:05      explanation to oﬀer him. It was another red flag
                 50:06      like this UK regulation that, until proven
                 50:07      otherwise, e-cigs are likely to be placed in the
                 50:08      same category as cigarettes, which in basic SRI
                 50:09      terms, is a sin business."
                 50:10      Is that what you wrote?
 50:12 - 50:18   Olin, Christopher 2021-07-29_WIT                                 00:00:15   OCv12.36
                 50:12      THE WITNESS: I -- I don't remember the
                 50:13      exchange, but I see the e-mail now.

                                                PLF AFFIRMATIVE                                         9 / 20
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                           OCv12 - Olin, Christopher SFUSD FINAL_PLAYED 05-01-23
DESIGNATION        SOURCE                                                          DURATION       ID
                   50:14      BY MR. WATTS:
  OLIN18506.1.     50:15   Q. And when you wrote that, what did you
      6
                   50:16      mean by "SRI terms"?
                   50:17   A. SRI is an abbreviation for socially
                   50:18      responsible investing.
 52:10 - 52:12     Olin, Christopher 2021-07-29_WIT                                 00:00:05   OCv12.37
      Clear        52:10      BY MR. WATTS:
                   52:11   Q. Now I want to take you to July of
  OLINPM14042      52:12      2015 with Exhibit 14042.
     .1.1
 54:13 - 54:17     Olin, Christopher 2021-07-29_WIT                                 00:00:12   OCv12.38
  OLINPM14042      54:13   Q. It says: "Given our relationships in
     .1.2
                   54:14      Pax, it isn't practicable to exit at this time."
                   54:15      Did you ask that Tao Capital Partners
                   54:16      exit its investment in Pax?
                   54:17   A. Not that I recall.
 54:18 - 55:03     Olin, Christopher 2021-07-29_WIT                                 00:00:37   OCv12.39
  OLINPM14042      54:18   Q. Now, above that, he says: "I share your
     .1.3
                   54:19      deep concerns about whether it's wrong to have a
                   54:20      financial interest in the company and about how we
                   54:21      can use our position to promote best practices and
                   54:22      mitigate harm."
                   54:23      And when he said that, your wife
  OLINPM14042      54:24      responded above at 4:30 -- 5:34 in the morning,
     .1.4
  OLINPM14042      54:25      and part of what she says is: "Personally I think
     .1.5
                   55:01      banning the fruity flavors would be a good place
                   55:02      to start from a regulation standpoint. Clearly
                   55:03      teen-oriented, no," with a question mark. Right?
 55:05 - 55:10     Olin, Christopher 2021-07-29_WIT                                 00:00:12   OCv12.40
                   55:05      THE WITNESS: I -- I don't remember this
                   55:06      exchange. I see what she wrote now.
                   55:07      BY MR. WATTS:
                   55:08   Q. Do you recall having discussions with
                   55:09      your wife where she stated her view that fruity

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                   55:10      flavors were teen-oriented?
 55:12 - 55:21     Olin, Christopher 2021-07-29_WIT                                 00:00:24   OCv12.41
                   55:12      THE WITNESS: I don't.
                   55:13      BY MR. WATTS:
                   55:14   Q. Now, a er your wife suggests banning
  OLINPM14042      55:15      the fruity flavors, Nicholas Pritzker responds at
     .1.6
  OLINPM14042      55:16      the top of the page on July the 6th of 2015: "One
     .1.7
                   55:17      of the JUUL flavors is," quote, "'Fruut.' They
                   55:18      tell me it's like mint. Not sure where we draw
                   55:19      the line but probably right there," exclamation
                   55:20      point.
                   55:21      Do you see that, sir?
 55:23 - 56:03     Olin, Christopher 2021-07-29_WIT                                 00:00:07   OCv12.42
                   55:23      THE WITNESS: Yeah, yeah, I haven't seen
                   55:24      this -- well, I haven't seen this in six years, so
                   55:25      can I take a minute to -- to look through this,
                   56:01      please?
                   56:02      BY MR. WATTS:
                   56:03   Q. Of course.
 56:05 - 56:09     Olin, Christopher 2021-07-29_WIT                                 00:00:15   OCv12.43
                   56:05      Okay. I'm sorry. Was there a question?
                   56:06   Q. My question is this: When he says "not
                   56:07      sure where to draw the line but probably right
                   56:08      there," he's referencing the fruit flavor that
                   56:09      your wife had proposed banning, right?
 56:12 - 56:14     Olin, Christopher 2021-07-29_WIT                                 00:00:05   OCv12.44
                   56:12      THE WITNESS: I -- I don't really
                   56:13      want -- want to draw any conclusions about what
                   56:14      he's talking about.
 62:03 - 62:03     Olin, Christopher 2021-07-29_WIT                                 00:00:02   OCv12.45
      Clear        62:03      Let's go to Exhibit 18509.
 62:06 - 62:12     Olin, Christopher 2021-07-29_WIT                                 00:00:15   OCv12.46
                   62:06      BY MR. WATTS:
  OLIN18509.1.     62:07   Q. On December the 9th, you write another
      1
                   62:08      e-mail, and in this e-mail you say: "I find the
                   62:09      explosion in vaping among teens to be deeply
                                                    PLF AFFIRMATIVE                                    11 / 20
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DESIGNATION        SOURCE                                                          DURATION       ID
                   62:10      disturbing as it is creating another generation of
                   62:11      nicotine addicts."
                   62:12      Do you see that, sir?
 62:14 - 62:20     Olin, Christopher 2021-07-29_WIT                                 00:00:11   OCv12.47
                   62:14      THE WITNESS: Yeah, I don't recall
                   62:15      sending this, but I see it now.
                   62:16      BY MR. WATTS:
  OLIN18509.1.     62:17   Q. And you say: "I'm glad to see the
      2
                   62:18      Surgeon General woke up," and then you put a CNN
                   62:19      link to the Surgeon General Report on
                   62:20      e-cigarettes, right?
 62:21 - 62:25     Olin, Christopher 2021-07-29_WIT                                 00:00:12   OCv12.48
                   62:21   A. Yes.
  OLIN18509.1.     62:22   Q. And the subject of your e-mail is
      3
                   62:23      "Surgeon General sounds the alarm on teens and
                   62:24      e-cigarettes." Right?
                   62:25   A. Yes.
 72:17 - 72:21     Olin, Christopher 2021-07-29_WIT                                 00:00:13   OCv12.49
      Clear        72:17   Q. Now, I want to take you to
                   72:18      Exhibit 18512, which will take us into 2017. And
  OLIN18512.1.     72:19      it's a two-page document, so we can put them up
      2
                   72:20      le and right, and we'll start on the second
                   72:21      page.
 73:04 - 74:01     Olin, Christopher 2021-07-29_WIT                                 00:00:56   OCv12.50
                   73:04      BY MR. WATTS:
  OLIN18512.2.     73:05   Q. On July 28, 2017, Nicholas Pritzker
      3
                   73:06      writes you an e-mail, the subject is "The New York
                   73:07      Times: FDA to target addictive levels of nicotine
  OLIN18512.2.     73:08      in cigarettes." And he writes to you and says:
      4
                   73:09      "I know this isn't your favorite topic, but this
                   73:10      was a bombshell today," and then he attaches a
                   73:11      link to The New York Times article about the FDA
                   73:12      action, right?
                   73:13   A. I don't recall the exchange, but I see

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DESIGNATION      SOURCE                                                          DURATION       ID
                 73:14      it here now.
  OLIN18512.2.   73:15   Q. It says: "For the first time the
      5
                 73:16      federal government is proposing cutting the
                 73:17      nicotine level in cigarettes so they aren't so
                 73:18      addictive."
                 73:19      And a er he sends that to you at 1:26,
  OLIN18512.1.   73:20      you respond a few hours later -- and let's go to
      4
  OLIN18512.1.   73:21      the first page -- and you say: "Tighter
      5
                 73:22      regulation is great. Smoke is clearly a problem
                 73:23      but so is any nicotine at all."
  OLIN18512.1.   73:24      And then you attach a California
      6
                 73:25      Proposition 65 warning with respect to nicotine;
                 74:01      is that right?
 74:03 - 74:18   Olin, Christopher 2021-07-29_WIT                                 00:00:39   OCv12.51
                 74:03      THE WITNESS: Yeah, I see that I
                 74:04      continue to be a devout CEH acolyte here.
                 74:05      BY MR. WATTS:
                 74:06   Q. And the warning says: "This product
                 74:07      contains nicotine, a chemical known to the State
                 74:08      of California to cause birth defects and other
                 74:09      reproductive harm."
  OLIN18512.1.   74:10      And a er you attach that, you say:
      7
                 74:11      "And vaping just replaces the dangers of smoke
                 74:12      with the dangers of vapor ingredients, but with
                 74:13      the nasty perception that it's harmless, which is
                 74:14      why I believe use among teens is so rampant. A
                 74:15      real tragedy a er decades of progress reducing
                 74:16      smoking among youth."
                 74:17      That's what you told Nicholas Pritzker
                 74:18      on July 28th of 2017, right?
 74:20 - 74:25   Olin, Christopher 2021-07-29_WIT                                 00:00:20   OCv12.52
                 74:20      THE WITNESS: I see that here.
                 74:21      BY MR. WATTS:
                 74:22   Q. Now, Mr. Olin, in your capacity as a CEH
                 74:23      acolyte, to use your term, you were receiving data

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                   74:24      with respect to the youth vaping epidemic that was
                   74:25      occurring in this country, right?
 75:03 - 75:11     Olin, Christopher 2021-07-29_WIT                                 00:00:19   OCv12.53
                   75:03      THE WITNESS: I'm not sure how to answer
                   75:04      that. I remember that it was in the mainstream
                   75:05      media, so I didn't have any information source. I
                   75:06      wasn't actively seeking it, but I think I was
                   75:07      absorbing it.
                   75:08      BY MR. WATTS:
                   75:09   Q. You were absorbing information from the
                   75:10      mainstream media that reported on the rampant use
                   75:11      among teens of vaping products, right?
 75:13 - 75:18     Olin, Christopher 2021-07-29_WIT                                 00:00:19   OCv12.54
                   75:13      THE WITNESS: I don't remember when that
                   75:14      got into the media. My recollection is it was a
                   75:15      year later.
                   75:16      BY MR. WATTS:
                   75:17   Q. So you had some other source of knowing
                   75:18      that vaping use among teens is so rampant, right?
 75:20 - 76:01     Olin, Christopher 2021-07-29_WIT                                 00:00:12   OCv12.55
                   75:20      THE WITNESS: Yeah, I'm not sure what --
                   75:21      what the source would have been, but it was my
                   75:22      perception, I guess.
                   75:23      BY MR. WATTS:
                   75:24   Q. And you communicated that perception to
                   75:25      Nicholas Pritzker, who was on the board of
                   76:01      directors of Juul Labs, right?
 76:02 - 76:02     Olin, Christopher 2021-07-29_WIT                                 00:00:02   OCv12.56
                   76:02   A. This is the e-mail that I sent him.
 88:15 - 88:18     Olin, Christopher 2021-07-29_WIT                                 00:00:13   OCv12.57
      Clear        88:15   Q. Let's talk about 14203, which is
                   88:16      the e-mail we just read from.
  OLINPM14203      88:17      MR. WATTS: Now, put up 034 on the le
     .2.1
                   88:18      and 035 on the right.
 88:19 - 89:03     Olin, Christopher 2021-07-29_WIT                                 00:00:28   OCv12.58
                   88:19      BY MR. WATTS:
  OLINPM14203      88:20   Q. Now, this is the e-mail that you wrote
     .2.2
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                         OCv12 - Olin, Christopher SFUSD FINAL_PLAYED 05-01-23
DESIGNATION      SOURCE                                                           DURATION       ID
                 88:21       on April the 21st of 2018, and you wrote it to
                 88:22       Nick Pritzker, Isaac Pritzker, and Joby Pritzker,
                 88:23       right?
                 88:24   A. There's no e-mail header here, but I see
                 88:25       that that's what the first paragraph is -- is
                 89:01       addressed to.
  OLINPM14203    89:02   Q. You say: "Recently our investment in
     .2.3
                 89:03       Juul has become increasingly challenging for me."
 89:04 - 89:15   Olin, Christopher 2021-07-29_WIT                                  00:00:38   OCv12.59
                 89:04       Why was it challenging for you?
                 89:05   A. I -- I think that's listed out in the
                 89:06       e-mail.
  OLINPM14203    89:07   Q. Now, you said that: "While I appreciate
     .2.4
                 89:08       that the initial promise of the product was to
                 89:09       provide an alternative to cigarette smokers, what
                 89:10       has transpired in the market has surpassed my
                 89:11       greatest fears. I always believed that the
                 89:12       addictive eﬀects of nicotine coupled with the
                 89:13       perception that vaping is harmless and the
                 89:14       product's iPhone-like design would lead to market
                 89:15       adoption in non-smokers. I also feared that this
 89:16 - 89:23   Olin, Christopher 2021-07-29_WIT                                  00:00:29   OCv12.60
                 89:16       product would appeal to millennials, and a er
                 89:17       years of declining cigarette use among youth, lead
                 89:18       to a new generation of nicotine addicts. What I
                 89:19       did not anticipate was the extent to which vaping,
                 89:20       and JUUL in particular, would explode in colleges,
                 89:21       high schools and even middle schools."
                 89:22       Is that what you wrote on that day?
                 89:23   A. That is what I wrote.
 91:03 - 91:15   Olin, Christopher 2021-07-29_WIT                                  00:00:29   OCv12.61
                 91:03       BY MR. WATTS:
  OLINPM14203    91:04   Q. Then you did a Google search
     .2.6
  OLINPM14203    91:05       of JUUL and saw articles about Dick Durbin and
     .2.7
                 91:06       other senators urging the FDA to take action on
  OLINPM14203    91:07       JUUL e-cigarettes, "JUUL e-cigarettes gain
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                            OCv12 - Olin, Christopher SFUSD FINAL_PLAYED 05-01-23
DESIGNATION        SOURCE                                                           DURATION       ID
     .2.8          91:07       JUUL e-cigarettes, "JUUL e-cigarettes gain
                   91:08       popularity among youth, but awareness of nicotine
  OLINPM14203      91:09       presence remains low," "E-cigs like JUUL are
     .2.9
                   91:10       undermining eﬀorts to keep kids away from
                   91:11       tobacco," senators say"; and the last one is,
  OLINPM14203      91:12       "Young people apparently don't realize these
     .2.10
                   91:13       popular crhme brulee e-cigarettes contain
                   91:14       nicotine."
                   91:15       Is that right?
 91:17 - 91:17     Olin, Christopher 2021-07-29_WIT                                  00:00:02   OCv12.62
                   91:17       THE WITNESS: Yes, I see that.
 96:13 - 96:21     Olin, Christopher 2021-07-29_WIT                                  00:00:20   OCv12.63
                   96:13       BY MR. WATTS:
  OLINPM14203      96:14    Q. Now, let's keep going on this
     .2.1
                   96:15       document. A er your anecdotes, you continue. In
  OLINPM14203      96:16       the bottom half of the page, you say: "If we're
     .3.12
                   96:17       going to continue to -- if we're going to continue
                   96:18       to own stock in this company and be able to stand
                   96:19       by the premise that their goal is purely harm
                   96:20       reduction, I believe the company should take
                   96:21       aggressive action.
 97:06 - 97:09     Olin, Christopher 2021-07-29_WIT                                  00:00:13   OCv12.64
                   97:06    A. Yeah. Okay.
  OLINPM14203      97:07    Q. Now, the first thing that you said the
     .3.13
                   97:08       company should do is to eliminate flavored
                   97:09       versions, right?
 97:11 - 97:11     Olin, Christopher 2021-07-29_WIT                                  00:00:01   OCv12.65
                   97:11       THE WITNESS: Yes.
108:01 - 108:04    Olin, Christopher 2021-07-29_WIT                                  00:00:05   OCv12.66
      Clear        108:01      BY MR. WATTS:
                   108:02 Q. we've already gone through
                   108:03      the e-mails that you wrote to Nicholas Pritzker
                   108:04      back in 2015, right?
108:06 - 108:06    Olin, Christopher 2021-07-29_WIT                                  00:00:01   OCv12.67
                                                    PLF AFFIRMATIVE                                     16 / 20
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                           OCv12 - Olin, Christopher SFUSD FINAL_PLAYED 05-01-23
DESIGNATION       SOURCE                                                          DURATION       ID
                  108:06      THE WITNESS: We did.                                            OCv12.67
109:02 - 109:10   Olin, Christopher 2021-07-29_WIT                                 00:00:23   OCv12.68
  OLINPM14203     109:02 Q. he says, four lines down:
     .1.2
  OLINPM14203
     .1.3
                  109:03      "We are all amazed by the phenomenon. Juul is now
                  109:04      cutting measurably into the smoking market, but
                  109:05      it's also turning out to be far more attractive
                  109:06      and apparently available to underage people than
                  109:07      we ever expected. It is a terrible unintended
                  109:08      consequence that you and Regan were right in
                  109:09      seeing."
                  109:10      Did I read that correctly?
109:12 - 109:15   Olin, Christopher 2021-07-29_WIT                                 00:00:06   OCv12.69
                  109:12      THE WITNESS: You did. I'm not sure why
                  109:13      he's making that specific statement, but I see it
                  109:14      there.
                  109:15      BY MR. WATTS:
110:10 - 110:13   Olin, Christopher 2021-07-29_WIT                                 00:00:11   OCv12.70
  OLIN18519.1.    110:10      MR. WATTS: Let's put this on this le ,
      1
                  110:11      and let's put up Exhibit 18519 on the right. And
                  110:12      let's see if it helps us refer to what he's
                  110:13      referring to.
112:06 - 112:16   Olin, Christopher 2021-07-29_WIT                                 00:00:33   OCv12.71
                  112:06      And put Exhibit 14203, Bates page 033, on the
                  112:07      le . There we go.
                  112:08      BY MR. WATTS:
  OLIN18519.1.    112:09 Q. Now, on the le , on April 22nd, he
      2
                  112:10      says, "We are all amazed by the phenomenon." And
                  112:11      he talks about, "It's far more attractive and
                  112:12      apparently available to underage people than we
                  112:13      expected. It is a terrible unintended consequence
                  112:14      that you and Regan were right in seeing."
                  112:15      That's what he said on April 22nd,
                  112:16      right?
112:18 - 113:02   Olin, Christopher 2021-07-29_WIT                                 00:00:27   OCv12.72

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DESIGNATION        SOURCE                                                           DURATION       ID
                   112:18      THE WITNESS: Yeah, thank you for                                 OCv12.72
                   112:19      highlighting. Okay, I see that.
                   112:20      BY MR. WATTS:
  OLIN18519.1.     112:21 Q. And then on May the 5th, he says:
      3
                   112:22      "You're right." About five lines down, highlight
                   112:23      that, "You're right. I never anticipated the
                   112:24      scale of the adoption of the device or its
                   112:25      popularity with kids. You and Regan saw the
                   113:01      threat long before I appreciated it."
                   113:02      Do you see that?
113:05 - 113:05    Olin, Christopher 2021-07-29_WIT                                  00:00:02   OCv12.73
                   113:05      THE WITNESS: Yeah, I do.
115:22 - 116:06    Olin, Christopher 2021-07-29_WIT                                  00:00:30   OCv12.74
                   115:22      BY MR. WATTS:
  OLIN18519.1.     115:23 Q. He asks: "Whether the positive" -- he
      4
                   115:24      says: "Whether the positive outweighs the
                   115:25      negative depends on a number of factors, including
                   116:01      one's own point of view and experience, the
                   116:02      long-term damage caused by using JUUL which is
                   116:03      obviously not yet known, and how eﬀective eﬀorts
                   116:04      are to educate people about the dangers and to
                   116:05      prevent access to underage users."
                   116:06      Do you see that, sir?
116:09 - 116:09    Olin, Christopher 2021-07-29_WIT                                  00:00:01   OCv12.75
                   116:09      THE WITNESS: I do.
119:08 - 119:12    Olin, Christopher 2021-07-29_WIT                                  00:00:07   OCv12.76
      Clear        119:08 Q. And, Mr. Olin, I want to ask you about
                   119:09      something that happened in December of 2018,
                   119:10      Exhibit 18522.
                   119:11      (Olin Exhibit No. 18522 was marked
                   119:12      for identification.)
119:13 - 119:15    Olin, Christopher 2021-07-29_WIT                                  00:00:05   OCv12.77
                   119:13      MR. WATTS: And this is a two-page
  OLIN18522.1.     119:14      document. Go ahead and put them both up so he can
      1
                   119:15      take a look at it real quick.
120:02 - 120:02    Olin, Christopher 2021-07-29_WIT                                  00:00:02   OCv12.78
                                                      PLF AFFIRMATIVE                                   18 / 20
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DESIGNATION        SOURCE                                                           DURATION       ID
                   120:02 Q. And as we look at the first                                        OCv12.78
120:03 - 120:21    Olin, Christopher 2021-07-29_WIT                                  00:01:06   OCv12.79
  OLIN18522.1.     120:03      page, Nick Pritzker forwards to you a clip with
      2
                   120:04      respect to the Wall Street Journal article,
                   120:05      "Altria is nearing a deal to take a 35 percent
                   120:06      stake in Juul." They value Juul at $38 billion,
                   120:07      right?
                   120:08 A. Yes, I see that. I -- I don't recall
                   120:09      this exchange, but I see it now.
                   120:10 Q. Okay. And here's my question: When --
                   120:11      when Altria paid $12.8 billion in cash to acquire
                   120:12      35 percent of Juul, did the shareholders of Juul
                   120:13      receive a dividend?
                   120:14 A. My understanding is that the
                   120:15      shareholders were diluted by a third or so, and
                   120:16      then received a payout.
                   120:17 Q. Okay.
                   120:18 A. I -- I don't know -- I'm not clear on
                   120:19      the technical terms of how that's characterized,
                   120:20      like from -- if you're coming from a tax
                   120:21      perspective or -- or whatnot.
123:18 - 123:20    Olin, Christopher 2021-07-29_WIT                                  00:00:04   OCv12.80
      Clear        123:18 Q. Those are all my
                   123:19      questions, sir. It was very nice to meet you.
                   123:20 A. Thank you.



                      PLF AFFIRMATIVE                                              00:23:01
                      TOTAL RUN TIME                                               00:23:01



                      Documents linked to video:
                      OLIN18502
                      OLIN18503
                      OLIN18506
                      OLIN18509
                      OLIN18512
                      OLIN18519
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       OLIN18522
       OLINPM14030
       OLINPM14042
       OLINPM14203




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                     EXHIBIT 2
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 3

 4   [Submitting Counsel on Signature Page]
 5

 6

 7                                       UNITED STATES DISTRICT COURT
 8                                   NORTHERN DISTRICT OF CALIFORNIA
 9                                             SAN FRANCISCO DIVISION
10

11   IN RE JUUL LABS, INC.,                                      Case No. 19-md-02913-WHO
     MARKETING, SALES PRACTICES,
12   AND PRODUCTS LIABILITY                                      JOINT STIPULATION IDENTIFYING
     LITIGATION                                                  TRIAL EXHIBITS USED IN THE
13                                                               VIDEOTAPED DEPOSITION OF -
                                                                 CHRISTOPHER OLIN PLAYED AT TRIAL
14
     This Document Relates to:
15
   San Francisco Unified School District v.
16 Juul Labs, Inc. et al., Case No. 3:19-cv-
   08177
17

18
                WHEREAS, Plaintiff called Christopher Olin, whose videotaped deposition was played
19
     to the jury.
20
                WHEREAS, the exhibit numbers in the videotaped deposition are different from the Trial
21
     Exhibit numbers.
22
                WHEREAS, to most efficiently clarify the record, the parties, by and through their
23
     undersigned counsel, hereby stipulate and agree that the chart below accurately reflects the
24
     deposition exhibits introduced during the videotaped testimony of Christopher Olin and the
25
     corresponding Trial Exhibit Numbers1:
26
27   1
         The parties reserve all objections regarding these exhibits.
28                                                                         JOINT STIPULATION IDENTIFYING TRIAL
                                                                           EXHIBITS USED IN VIDEOTAPED
                                                                           DEPOSITION
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 1
 2
        DEPOSITION EXHIBIT NUMBER                TRIAL EXHIBIT NUMBER
 3
     Olin Exhibit 18502                   Trial Exhibit 121
 4
     Olin Exhibit 18503                   Trial Exhibit 122
 5
     Olin Exhibit 18506                   Trial Exhibit 123
 6
     Olin Exhibit 18509                   Trial Exhibit 125
 7

 8   Olin Exhibit 18512                   Trial Exhibit 127

 9   Olin Exhibit 18519                   Trial Exhibit 128

10   Olin Exhibit 18522                   Trial Exhibit 3280

11   Olin Exhibit PM14030                 Trial Exhibit 118

12   Olin Exhibit PM14042                 Trial Exhibit 119

13   Olin Exhibit PM14203                 Trial Exhibit 120

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28                                                  JOINT STIPULATION IDENTIFYING TRIAL
                                                    EXHIBITS USED IN VIDEOTAPED
                                                    DEPOSITION
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 1                                             Respectfully submitted,
 2

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28                                                             JOINT STIPULATION IDENTIFYING TRIAL
                                                               EXHIBITS USED IN VIDEOTAPED
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